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     GARY A. BORNSTEIN (pro hac vice)
1    gbornstein@cravath.com
     YONATAN EVEN (pro hac vice)
2    yeven@cravath.com
     LAUREN A. MOSKOWITZ (pro hac vice)
3    lmoskowitz@cravath.com
     JUSTIN C. CLARKE (pro hac vice)
4    jcclarke@cravath.com
     MICHAEL J. ZAKEN (pro hac vice)
5    mzaken@cravath.com
     M. BRENT BYARS (pro hac vice)
6    mbyars@cravath.com
     CRAVATH, SWAINE & MOORE LLP
7    375 Ninth Avenue
     New York, New York 10001
8    Telephone: (212) 474-1000
     Facsimile: (212) 474-3700
9
     PAUL J. RIEHLE (SBN 115199)
10   paul.riehle@faegredrinker.com
     FAEGRE DRINKER BIDDLE & REATH LLP
11   Four Embarcadero Center
     San Francisco, California 94111
12   Telephone: (415) 591-7500
     Facsimile: (415) 591-7510
13
     Attorneys for Plaintiff and Counter-defendant
14   Epic Games, Inc.
15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    DECLARATION OF YONATAN EVEN IN
21                                                   SUPPORT OF EPIC GAMES, INC.’S
                           v.                        OBJECTIONS TO SPECIAL MASTER
22
                                                     DETERMINATIONS ISSUED MAY 12,
      APPLE INC.,                                    2025 REGARDING APPLE’S WITHHELD
23
                                                     DOCUMENTS
24                  Defendant, Counterclaimant.

25                                                   Judge: Hon. Yvonne Gonzalez Rogers
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     DECLARATION OF YONATAN EVEN                               CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR           Document 1572-1         Filed 05/16/25      Page 2 of 3




1           I, Yonatan Even, declare as follows:

2           1.      I am a partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

3    (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.

4           2.      I submit this declaration in support of Epic’s Objections to Special Master

5    Determinations Issued May 12, 2025 Regarding Apple’s Withheld Documents (“Objections”),

6    dated May 16, 2025.

7           3.      I have personal, first-hand knowledge of the facts set forth in this Declaration. If

8    called as a witness, I could and would competently testify to these facts under oath.
9           4.      Attached hereto as Exhibit A is a true and correct copy of the privilege log entries
10   provided by Apple for the documents mentioned in the Objections.
11          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
12   and correct and that I executed this declaration on May 16, 2025 in New York, New York.
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14                                                         /s/ Yonatan Even
                                                           Yonatan Even
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     DECLARATION OF YONATAN EVEN                      1           CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR          Document 1572-1         Filed 05/16/25   Page 3 of 3




1                                      E-FILING ATTESTATION

2                   I, Yonatan Even, am the ECF User whose ID and password are being used to file

3    this Declaration of Yonatan Even in Support of Epic’s Objections to Special Master

4    Determinations Issued May 12, 2025 Regarding Apple’s Withheld Documents (“Objections”),

5    dated May 16, 2025. In compliance with Civil Local Rule 5-1(i), I hereby attest that concurrence

6    in the filing of this document has been obtained from the signatory.

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8                                                         /s/ Yonatan Even
                                                          Yonatan Even
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     DECLARATION OF YONATAN EVEN                     2           CASE NO. 4:20-CV-05640-YGR-TSH
